   Case 4:15-cv-00585-Y Document 25 Filed 04/27/17    Page 1 of 1 PageID 121


                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

MARISSA PENA                             §
                                         §
VS.                                      §      ACTION NO. 4:15-CV-585-Y
                                         §
M&M CUSTOM HARVESTING, ET AL.            §

                                   FINAL JUDGMENT

        In accordance with the order issued this same day and Federal

Rule of Civil Procedure 58, all claims are hereby DISMISSED WITH

PREJUDICE to their refiling.           All costs of Court under 28 U.S.C. §

1920 shall be borne, as agreed by the parties, by the party incurring

same.

        SIGNED April 27, 2017.


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                                             TERRY R. MEANS
                                             UNITED STATES DISTRICT JUDGE




FINAL JUDGMENT - Page Solo
TRM/chr
